          Case 3:22-cv-00573-SDD-RLB                  Document 322           02/23/24 Page 1 of 3




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF LOUISIANA

    ALEX A., by and through his guardian,                )
    Molly Smith; BRIAN B.; and CHARLES C.,               )
    by and through his guardian, Kenione                 )
    Rogers, individually and on behalf of all            )
    others similarly situated,                           )
                                                         )
           Plaintiffs,                                   )
                                                         )
    v.                                                   ) Civ. A. No. 3:22-CV-00573-SDD-RLB
                                                         )
    GOVERNOR JOHN BEL EDWARDS, in                        )
    his official capacity as Governor of                 ) DEFENDANTS’ RULE 12(b)(1)
    Louisiana; WILLIAM SOMMERS, in his                   ) MOTION TO DISMISS
    official capacity as Deputy Secretary of the         )
    Office of Juvenile Justice, JAMES M.                 )
    LEBLANC, in his official capacity as                 )
    Secretary of the Louisiana Department of             )
    Public Safety & Corrections,                         )
                                                         )
           Defendants.                                   )

          Defendants Jeff Landry, in his official capacity as Governor of Louisiana; Kenneth

“Kenny” Loftin, in his official capacity as Deputy Secretary of the Office of Juvenile Justice

(“OJJ”); and James M. LeBlanc, in his official capacity as Secretary of the Louisiana Department

of Public Safety & Corrections (“DOC”) (collectively “Defendants”), 1 move the Court, pursuant

to Federal Rule of Civil Procedure 12(b)(1), to dismiss this lawsuit for lack of subject matter

jurisdiction due to mootness.


1
 Since the filing of this lawsuit, the State of Louisiana elected a new governor, Jeff Landry. Because former Gov.
Edwards was initially sued in his official capacity, Gov. Landry is automatically substituted as a defendant. Fed. R.
Civ. P. 25(d).

Relatedly, on November 18, 2022, then-Gov. Edwards announced the resignation of initially-named Defendant
Deputy Secretary Sommers and the appointment of Otha “Curtis” Nelson, Jr. as his replacement.
https://gov.louisiana.gov/index.cfm/newsroom/detail/3892. Because Mr. Sommers was initially sued in his official
capacity, Mr. Nelson was then automatically substituted as a Defendant. Subsequently, on February 2, 2024, Gov.
Landry announced that Kenneth “Kenny” Loftin had been appointed as the Deputy Secretary of OJJ.
https://gov.louisiana.gov/index.cfm/newsroom/detail/4402. Therefore, Mr. Loftin is now automatically substituted as
a Defendant. Fed. R. Civ. P. 25(d).

                                                         1
        Case 3:22-cv-00573-SDD-RLB               Document 322       02/23/24 Page 2 of 3




       1.      This case is moot and due to be dismissed because it no longer presents a case or

controversy under Article III of the Constitution. Specifically, no youth faces the possibility of

being housed at BCCY-WF or a transitional treatment unit (“TTU”) at an “adult prison.”

       2.      OJJ elected to transfer all youth from BCCY-WF to the juvenile unit of the newly-

opened Jackson Parish Jail (“Jackson Parish”).

       3.      OJJ has opened its newly-renovated Cypress Unit and will soon open its newly-

constructed facility at the Swanson Center for Youth at Monroe (“SCY-Monroe”), thus obviating

the prior, temporary need to house secure care youth at BCCY-WF.

       4.      After OJJ closed BCCY-WF, DOC used the facility to house adult offenders. DOC

intends to use the reception center at Louisiana State Penitentiary, the former site of BCCY-WF,

only to house adult offenders (not juveniles).

       5.      Since the closure of BCCY-WF, OJJ has had no TTU and currently does not operate

a TTU at any facility. Jackson Parish is not (and never has been) a TTU. OJJ will soon establish

its TTU at the Cypress Unit at SCY-Monroe.

       For these reasons, and as more fully set forth in Defendants’ memorandum in support of

this motion, the Court should dismiss this case as moot.

       Dated: February 23, 2024.

                                                 Respectfully submitted:

                                                 BY:    /s/ Madaline King Rabalais
                                                        Connell Archey (#20086)
                                                        Randal J. Robert (#21840)
                                                        Allena McCain (#38830)
                                                        Madaline King Rabalais (#38301)
                                                        BUTLER SNOW LLP
                                                        445 North Boulevard, Suite 300 (70802)
                                                        P.O. Box 2997
                                                        Baton Rouge, LA 70821-2997
                                                        Telephone:    (225) 325-8700

                                                    2
        Case 3:22-cv-00573-SDD-RLB             Document 322        02/23/24 Page 3 of 3




                                                      Facsimile:   (225) 325-8800
                                                      Connell.Archey@butlersnow.com
                                                      Randy.Robert@butlersnow.com
                                                      Allena.McCain@butlersnow.com
                                                      Madaline.Rabalais@butlersnow.com

                                                      Kyle V. Miller (pro hac vice)
                                                      Lemuel E. Montgomery III (pro hac vice)
                                                      Anna Morris (pro hac vice)
                                                      Carly Chinn (pro hac vice)
                                                      BUTLER SNOW LLP
                                                      1020 Highland Colony Parkway, Suite 1400
                                                      Ridgeland, MS 39157
                                                      Telephone:    (601) 948-5711
                                                      Facsimile:    (601) 985-4500
                                                      Kyle.Miller@butlersnow.com
                                                      Lem.Montgomery@butlersnow.com
                                                      Anna.Morris@butlersnow.com
                                                      Carly.Chinn@butlersnow.com

                                                      Counsel for Defendants


                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing has this day been filed electronically
with the Clerk of Court using the CM/ECF system, which will deliver notice of this filing to all
counsel of record.

        This 23rd day of February, 2024.

                                                       /s/ Madaline King Rabalais

85998178.v1




                                                 3
